       Case 1:23-cv-00079-ABJ Document 208-2 Filed 06/05/24 Page 1 of 5




  Patrick J. Murphy, WSB No. 5-1779
  Scott C. Murray, WSB No. 7-4896
  WILLIAMS, PORTER, DAY & NEVILLE, PC
  159 N. Wolcott, Ste. 400
  P.O. Box 10700 (82602)
  Casper, WY 82601
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF WYOMING

   BCB CHEYENNE LLC d/b/a BISON
                                                )
   BLOCKCHAIN, a Wyoming limited liability
                                                )
   company,
                                                )
            Plaintiff,                          )
   v.                                           )   Civil Action No. 23-CV-79-ABJ
   MINEONE WYOMING DATA CENTER                  )
   LLC, a Delaware limited liability company;   )
   MINEONE PARTNERS LLC, a Delaware             )
   limited liability company; TERRA             )
   CRYPTO, INC., a Delaware corporation;        )
   BIT ORIGIN, LTD, a Cayman Island             )
   Company; SONICHASH LLC, a Delaware           )
   limited liability company; BITMAIN           )
   TECHNOLOGIES HOLDING COMPANY,                )
   a Cayman Island Company; BITMAIN             )
   TECHNOLOGIES GEORGIA LIMITED, a              )
   Georgia corporation; and JOHN DOES 1-18,     )
   related persons and companies who control    )
   or direct some or all of the named           )
   Defendants,                                  )
                  Defendants.                   )


                                EXHIBIT A
      TO BCB CHEYENNE LLC d/b/a BISON BLOCKCHAIN’S THIRD AMENDED
      SUPBOENA DUCES TECUM TO CLEANSPARK, INC. IN A CIVIL ACTION


       CLEANSPARK, INC. is commanded to produce copies of the following documents to

Patrick J. Murphy at WILLIAMS, PORTER, DAY & NEVILLE, P.C. at 159 N. Wolcott Street, Suite
        Case 1:23-cv-00079-ABJ Document 208-2 Filed 06/05/24 Page 2 of 5




400, Casper, WY 82601, or by emailing the documents to pmurphy@wpdn.net by June 11, 2024

at 4:00 p.m. MDT, as follows:


                                          DEFINITIONS

  1.        "Document" shall have the full meaning ascribed to it in Rule 34 of the Federal

  Rules of Civil Procedure and shall include every writing or record of every type and

  description, including, but not limited to, agreements, contracts, contract files,

  correspondence, memoranda, publications, pamphlets, promotional materials, studies,

  books, tables, charts, graphs, schedules, e-mails, text messages, photographs, films, voice

  recordings, reports, surveys, analyses, journals, ledgers, telegrams, stenographic or

  handwritten notes, minutes of meetings, transcripts, financial statements, purchase orders,

  vouchers, invoices, bills of sale, bills of lading, credit and billing statements, checks,

  manuals, circulars, bulletins, instructions, sketches, diagrams, computer programs,

  printouts, punch cards, tabulations, logs, telephone records, desk calendars, diaries,

  appointment books, computer data, tapes, and disks; and includes all drafts or copies of

  every such writing or record whenever a draft or copy of a document is not an identical

  copy of the original or where such draft or copy contains any commentary or notes that

  do not appear on the original.

  2.        "Communications" shall mean all written, oral, telephonic, electronic, e-mail,

  text, or other transmittal of words, thoughts, ideas, and images, including, but not

  limited     to,   inquiries,   discussions,   conversations,   negotiations,   agreements,

  understandings, meetings, letters, notes, telegrams, advertisements, press releases,

  publicity releases, trade releases, and interviews.
           Case 1:23-cv-00079-ABJ Document 208-2 Filed 06/05/24 Page 3 of 5




     3.     The term "relating to" shall mean directly or indirectly mentioning or describing,

     comprising, consisting of, referring to, reflecting on, or being in any way logically or factually

     connected with the matter discussed.


     4.     The term “North Range” shall mean of, concerning, or relating in any way to the

     improved real property commonly known as 635 Logistics Drive in the City of Cheyenne,

     Laramie County, Wyoming 82009 and the related electrical power contracts with Black Hills

     Energy for the BCIS power (~45 megawatts) and expansion power (~25 megawatts).


     5.     The term “Campstool” shall mean of, concerning, or relating to the property known as

     Lot 1 Block 4 Venture Dr., in the City of Cheyenne, Laramie County, Wyoming 82007 and the

     related electrical power contracts with Black Hills Energy for the BCIS power (~30 megawatts)

     and expansion power (~30 megawatts).

                                      DOCUMENTS REQUESTED

1.        Produce documents and communications, specifically, any and all wire transfer
          documentation, of any payment(s) CleanSpark, Inc. and/or any of its subsidiaries have
          made from May 8, 2024 to June 10, 2024 1 to the Escrow Holder (Republic Title of Texas,
          Inc.), Defendant MineOne, Defendant Terra Crypto Inc, and/or any of MineOne’s alleged
          creditors relating to North Range and/or Campstool pursuant to the May 8, 2024 Purchase
          and Sale Agreement (“PSA”), the May 29, 2024 Amended and Restated Purchase and Sale
          Agreement (“North Range PSA”) and the May 29, 2024 Campstool Purchase and Sale
          Agreement (“Campstool PSA”), including amendments thereto for all of the
          aforementioned agreements, and any other agreement between CleanSpark, Inc. (or any of
          its subsidiaries) and MineOne Wyoming Data Center LLC relating to North Range and/or
          Campstool.

1
  In the Court’s Order on Plaintiff’s Emergency Motion, the Court relied on what Ms. Colbath, MineOne’s counsel,
represented to the Court when she stated: “There is no emergency present, no money has exchanged hands and no
money will for at least 30 days [from May 17, 2024], and likely longer” [ECF 194 at p. 4].
        Case 1:23-cv-00079-ABJ Document 208-2 Filed 06/05/24 Page 4 of 5




2.     Produce documents and communications from May 25, 2024 to present relating to the
       Closing date for (1) the Campstool PSA and (2) the North Range PSA. Please note: this
       request seeks email communications confirming what date (or what anticipated date)
       Closing is scheduled for both the Campstool PSA and the North Range PSA.


3.     Please produce documents and communications showing whether Defendant MineOne
       provided the PSA Section 7a disclosure schedule to CleanSpark before the May 8, 2024
       signing of the PSA. Please produce communications in the form of .eml file(s) for any
       email communications that exist under this request.


Please note: All documents and communication requests under this subpoena are being done so

on an emergency basis ahead of the Evidentiary Hearing scheduled on Friday afternoon June 7,

2024. By our estimation, these requests include no more than 15 documents and email threads, and

maybe as few as five or six, in total. We don’t believe gathering and producing the documents and

communications in the three requests above will take more than a few hours of time.



On May 31, 2024, CleanSpark’s counsel, Leighton Koehler, was provided the Stipulated

Protective Order that was entered in this civil action (on December 6, 2023). All documents and

communication requested and provided under this subpoena are protected and treated as

confidential under this civil action’s Stipulated Protective Order and are being requested prior to

the Evidentiary Hearing.



Please send the requested documents and communications via email to pmurphy@wpdn.net

by June 11, 2024 at 4:00 p.m. MDT.
Case 1:23-cv-00079-ABJ Document 208-2 Filed 06/05/24 Page 5 of 5




RESPECTFULLY SUBMITTED this 5th day of June 2024.

                                    BCB CHEYENNE LLC d/b/a
                                    BISON BLOCKCHAIN,

                                    Plaintiff



                              By:
                                    Patrick J. Murphy, WSB No. 5-1779
                                    Scott C. Murray, WSB No. 7-4896
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                                    Attorneys for Plaintiff BCB Cheyenne LLC
                                    d/b/a Bison Blockchain
